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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

KENNETH SANDERS, SR., et al.,                )
                                             )
       PLAINTIFFS,                           )
                                             )
v.                                           )   CASE NO.: 2:04-cv-757-F
                                             )        (LEAD CASE)
CITY OF UNION SPRINGS, et al.,               )
                                             )
       DEFENDANTS.                           )   (WO - Recommended for Publication)1+


SABRINA KENDRICK, as mother and              )
next friend of L.C.,                         )
                                             )
       PLAINTIFF,                            )
                                             )
v.                                           )   CASE NO.: 2:04-cv-758-F
                                             )        (MEMBER CASE)
CITY OF UNION SPRINGS, et al.,               )
                                             )
       DEFENDANTS.                           )

                                  FINAL JUDGMENT

       In accordance with the Memorandum Opinion and Order entered this date, it is the

ORDER, JUDGMENT and DECREE of the Court as follows:

       (1) With respect to all claims in these consolidated actions pursuant to 42 U.S.C. §

1983, judgment is ENTERED in favor of Defendants Kenneth Johnson, E.L. Love, the City

of Union Springs and against Plaintiffs Sabrina Kendrick, as Mother and Next Friend of

L.C., Kenneth Sanders, Tina Sanders, and Kenneth Sanders, Jr., with Plaintiffs taking

nothing by their claims.
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       (2) Plaintiffs’ remaining state-law claims are DISMISSED WITHOUT PREJUDICE

pursuant to 28 U.S.C. § 1367.

       (2) Costs are TAXED in favor of Defendants against Plaintiffs for which execution

may issue.

       (3) The Clerk of the Court is DIRECTED to enter this document on the civil docket

sheet as a Final Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure and

to close these cases.

       DONE this 18 th day of November, 2005.




                                                  /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE




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